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                                                         UNITED STATES DISTRICT COURT
                                                        SOUTHERN DISTRICT OF FLORIDA

 UNITED STATES OF AMERICA
                                                                         CASE NO: 22-MJ-02369
 v.

 ENRIQUE TARRIO,

                        Defendant.

 _______________________________/

       UNOPPPSED MOTION TO CONTINUE REMOVAL/PRE-TRIAL DETENTION

        COMES NOW the Defendant, Enrique Tarrio, by and through undersigned counsel moves

 this Honorable Court to reset the removal/pre-trial detention hearing in the foregoing cause and in

 support hereof states as follows:

        1. Counsel was recently retained by the Defendant on the above referenced case.

        2. Undersigned has spoken to AFPD Andrew Jacobs regarding documents provided by

            the Government in anticipation of the detention hearing. The documents include

            approximately 92 pages which need to be reviewed and have not been tendered to

            undersigned.

        3. Undersigned is requesting until Tuesday, March 15, 2022 to review such documents

            and adequately prepare for said hearing.

        4. Undersigned has spoken with AUSA DOJ Erik Kenerson regarding said continuance

            and the Government is unopposed to the request for continuance until Tuesday, March

            15, 2022.

        5. This motion is not intended to cause any undue hardship or cause any delay to this

            Honorable Court’s proceedings.
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        I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically

 noticed through the CM/ECF system to AUSA Erik Kenerson at the US Attorney’s Office on this

 10th day of March, 2022.

                                           Respectfully submitted,

                                           /s/ Nayib Hassan
                                           _____________________________
                                           Nayib Hassan, Esq., Fla Bar No. 20949
                                           Attorney for Defendant
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